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 6
   Attorneys for Plaintiff
 7 United States of America

 8

 9                                 IN THE UNITED STATES DISTRICT COURT

10                                    EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                              CASE NO. 2:11-CR-450 TLN
12
                                    Plaintiff,              STIPULATION AND ORDER REGARDING
13                                                          DEFENDANT’S MOTION FOR RELEASE ON
                             v.                             BAIL PENDING APPEAL
14
     VERA ZHIRY,                                            DATE: March 10, 2016
15                                                          TIME: 9:30 a.m.
                                   Defendant.               COURT: Hon. Troy L. Nunley
16

17
                                                   STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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     through defendant’s counsel of record, hereby stipulate as follows:
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            1.       On February 23, 2016, the defendant filed a motion for release on bail pending appeal
21
     and noticed a hearing date of March 10, 2016. The United States’ opposition to this motion is currently
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     due on March 1, 2016, seven days after February 23, 2016.
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            2.       By this stipulation, the United States requests an extension in the time for it to file its
24
     opposition.
25
            3.       The parties agree and stipulate, and request that the Court find the following:
26
                     a)      The United States will file and serve its opposition to defendant’s motion for
27
            release on bail pending appeal by March 14, 2016.
28
                     b)      The March 10, 2016 hearing date on the motion is vacated and continued to

      STIPULATION REGARDING MOTION FOR RELEASE ON           1
      BAIL PENDING APPEAL
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 1         March 17, 2016.

 2         IT IS SO STIPULATED.

 3

 4
     Dated: February 26, 2016                           BENJAMIN B. WAGNER
 5                                                      United States Attorney
 6
                                                        /s/ LEE S. BICKLEY
 7                                                      LEE S. BICKLEY
                                                        Assistant United States Attorney
 8

 9
     Dated: February 26, 2016                           /s/ QUIN DENVIR
10                                                      QUIN DENVIR
11                                                      Counsel for Defendant
                                                        VERA ZHIRY
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14

15                                         FINDINGS AND ORDER

16         IT IS SO FOUND AND ORDERED this 26th day of February, 2016

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20                                                           Troy L. Nunley
                                                             United States District Judge
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      STIPULATION REGARDING MOTION FOR RELEASE ON   2
      BAIL PENDING APPEAL
